1

2

3

4

5

6

7

8
9
                                       EXHIBIT A
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                               5

     Case: 19-30088   Doc# 5578-1   Filed: 01/31/20   Entered: 01/31/20 10:27:48   Page 1
                                             of 2
                         SUMMARY OF COMPENSATION BY PROFESSIONAL
1
                          DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019
2
                                      BERMAN AND TODDERUD LLP
3

4

5
           Name of         Position        Year               Hourly          Total       Total Fees Prior to
6
          Professional                    Admitted             Rate           Hours       2.5% Reduction*
7                                                                             Billed

8         Stan Berman Partner           1988 (Illinois)       $920           47.4        $43,608.00

9                                       1994
                                        (Washington,
10                                      D.C.)
                                        2000
11
                                        (Washington)
12
          Eric            Partner       1987 (Oregon-         $692           69.6        $48,163.20
13        Todderud                      inactive)

14                                      2004
                                        (Washington)
15

16

17
                     Professionals     Blended Rate            Total Hours             Total
18                                                                Billed            Compensation
19
                       Partners           $772.80                    117.0             $90,417.62
20

21    *Pursuant to their fee arrangement with Pacific Gas and Electric Company, Berman and Todderud
      agreed to apply a 2.5% reduction to fees in excess of $1,000,000 for calendar year 2019. Berman
22
      and Todderud’s fees for the year totaled $1,054,143.20. Accordingly, Berman and Todderud
23    reduced the December fees invoiced to Pacific Gas and Electric Company by 2.5% of $54,143.20
      (the amount in excess of $1 million for the year). That fee reduction equals $1,353.58. Thus, the
24    fees for the month of December at agreed-upon billing rates, totaling $91,177.20, were reduced by
25    $1,353.58, for a total compensation of $90,417.62.

26

27

28                                                        6

     Case: 19-30088      Doc# 5578-1    Filed: 01/31/20        Entered: 01/31/20 10:27:48           Page 2
                                                 of 2
